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                            14                          UNITED STATES DISTRICT COURT
                            15                        CENTRAL DISTRICT OF CALIFORNIA
                            16
                            17     STEPHEN HERNAEZ, an individual;          Case No.: 2:21-cv-02120-JAK-KES
                            18                                              Assigned for all purposes to the
                                               Plaintiff,                   Hon. John A Kronstadt
                            19
                                         v.
                            20                                              PARTIES’ JOINT NOTICE OF
                                   AMSPEC, LLC, a corporate entity form     SETTLEMENT
                            21
                                   unknown; and DOES 1-50, inclusive,
                            22
                            23                          Defendants.
Smaili & Associates, P.C.




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                                                            PARTIES’ JOINT NOTICE OF SETTLEMENT
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                                 Case 2:21-cv-02120-JAK-KES Document 23 Filed 12/09/21 Page 2 of 2 Page ID #:218




                            1     TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:
                            2           PLEASE TAKE NOTICE that the Parties have reached a settlement in the
                            3     instant case. Plaintiff anticipates filing a dismissal of the entire action with prejudice
                            4     in the next thirty days.
                            5
                            6     Dated: December 8, 2021                  SMAILI & ASSOCIATES, P.C.
                            7
                            8                                              By: _/s/Jihad M. Smaili ________________
                            9                                                  Jihad M. Smaili, Esq.
                                                                               Stephen D. Counts, Esq.
                            10
                                                                               Attorneys for Plaintiffs
                            11
                            12
                            13
                            14    Dated: December 8, 2021                  LITTLER MENDELSON, P.C.
                            15
                            16                                             By: _/s/ Christine A. Kohler_____________
                            17
                                                                               Christine A. Kohler, Esq.
                                                                               Attorneys for Defendant
                            18
                            19                                        ATTESTATION
                            20          Pursuant to Local Rule 5-4.3.4(a)(2)(i), I attest that the signatories listed
                            21    above, and on whose behalf the filing is submitted, concur in the filing’s content and
                            22    have authorized the filing.
                            23
Smaili & Associates, P.C.




                                   Dated: December 8, 2021                        SMAILI & ASSOCIATES, PC
                            24
                            25
                                                                                  By: /s/ Jihad M. Smaili
                            26                                                      Jihad M. Smaili
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                                                             PARTIES’ JOINT NOTICE OF SETTLEMENT
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